Case 1:20-cv-02613-SEB-MJD Document 8 Filed 07/19/21 Page 1 of 1 PageID #: 17
                                                       Acknowledged.

                                                                        This action is hereby
                            UNITED STATES DISTRICT COURT                dismissed with prejudice.
                            SOUTHERN DISTRICT OF INDIANA
                                                                               7/19/2021
                                INDIANAPOLIS DIVISION                   Date: ___________

Robert Blake,                               )
                                                                      _______________________________
                                            )
                                                                       SARAH EVANS BARKER, JUDGE
                             Plaintiff,     )                          United States District Court
                                            )                          Southern District of Indiana

                       v.                   ) Case Number 1:20-cv-2613-SEB-MJD
                                            )
TrueAccord Corp.,                           )
                                            )
                             Defendant.     )

                                NOTICE OF VOLUNTARY
                              DISMISSAL WITH PREJUDICE

       Plaintiff, pursuant to settlement and Fed.R.Civ.P. 41, hereby submits his Notice of

Voluntary Dismissal of this action WITH PREJUDICE.

Date: July 15, 2021.


                                                    Respectfully submitted,

                                                    COUNSEL FOR PLAINTIFF:

                                                    /s/ Thomas G. Bradburn

                                                    Thomas G. Bradburn (15377-49)
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